                                        UNITED STATES DISTRICT COURT
                                            Northern District of Illinois
                                            219 South Dearborn Street
                                              Chicago, Illinois 60604

Thomas G. Bruton                                                                              312-435-5670
Clerk



Date: 11/3/2020

US Federal District Court
Central District of Illinois




Re: Simpson v. Sweet Express, LLC a foreign LLC et al

USDC Case Number: 20cv6027


Dear Clerk:

Pursuant to the order entered by Honorable Thomas M. Durkin, on 10/20/2020, the
above record was

                  X            electronically transmitted to Central District of Illinois

                               paper documents were sent via certified mail to


Please acknowledge receipt of any paper documents on the enclosed copy of this letter.


                                                              Sincerely,
                                                              Thomas G. Bruton, Clerk

                                                              By:     /s/ Michelle Copeland
                                                                      Deputy Clerk


New Case No. ____________________________                            Date _____________________


cc:       Non-ECF Attorneys and Pro se Parties



Rev. 09/23/2016
